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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  AMERICA FIRST LEGAL FOUNDATION,

                          Plaintiff,

  v.                                                      Civil Action No. 24-2680 (AHA)

  U.S. SECRET SERVICE, et al.,

                          Defendants.


                                       JOINT STATUS REPORT

       Pursuant to the Court’s order dated December 19, 2024, Plaintiff American First Legal

Foundation and Defendants United States Department of Homeland Security (“DHS”) and the

United States Secret Service (“USSS” or “Secret Service”), by and through undersigned counsel,

report to the Court as follows.

       1.      This action was filed on September 19, 2024, concerning certain requests submitted

to DHS and the Secret Service under the Freedom of Information Act (“FOIA”).

       2.      Subject to, and without waiving, the defenses asserted in their Answer, Defendants

report on the status of the requests as follows.

       DHS: DHS reports as follows.

               a. As stated in the last status report, it is DHS’s position that 2024-HQFO-1978

                   as it pertains to DHS is not at issue in this action. See also Compl. ¶¶ 7-15, 33.

               b. With respect to 2024-HQFO-1980, DHS made its first interim production to

                   Plaintiff on December 17, 2024, and its second interim production on

                   February 4, 2025. DHS will provide subsequent responses on a monthly basis

                   until processing is complete.
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       USSS: The Secret Service reports as follows.

                 a. The Secret Service received directly two requests, each of which included

                    numerous subparts (see ECF No. 1-6 (eleven subparts) and ECF No. 1-8 (ten

                    subparts)). Those requests were assigned USSS FOIA File Numbers 20241077

                    and 20241105. In addition, items (a) and (b) of request 2024-HQFO-01980

                    were transferred by DHS to the Secret Service for processing and direct

                    response to the requester. USSS has assigned File Number 20241241 to those

                    items.

                 b. With respect to 20241241, the Secret Service made a production on January 7,

                     2025 that completed its processing with respect to those referred items.

                 c. With respect to 20241077, the Secret Service made its first interim release on

                    January 30, 2025. With respect to both 20241105 and 20241077, the Secret

                    Service is continuing to conduct searches and otherwise process those requests.

       3.        Based on the above, the parties propose that they file a further joint status report by

April 9, 2025.


                                        Respectfully submitted,

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                                AND

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